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                           EXHIBIT 6
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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK



     In re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD) (SN)
                                                   ECF Case


 This document relates to: All Actions

              REBUTTAL REPORT OF EVAN FRANCOIS KOHLMANN

         I have been asked by Plaintiffs’ attorneys to review a series of reports submitted
 by defense experts in the present case. I was thereupon requested to draft a rebuttal
 document in response to these reports. As I have already addressed many of these topics
 at great length in my original Report, I have focused primarily on citing additional source
 material not covered previously that would help resolve issues of contention.

I.       Abdullah Azzam, Makhtab al-Khademat (Mujahideen Services Office), and
         the Founding of Al-Qaida

 1.      Reports from defense experts Roy, Brown, and Sageman make a number of
 incorrect or misleading statements about Abdullah Azzam, Makhtab al-Khademat
 (Mujahideen Services Office, MAK), and the founding of Al-Qaida. The errors include
 but are not limited to:

         a)     Failing to address or acknowledge MAK’s offices and activities outside of
                Peshawar, Pakistan—including links between its office in Brooklyn and
                the 1993 World Trade Center bombing;

         b)     Failing to address or acknowledge statements by Abdullah Azzam, Usama
                Bin Laden, and other key Al-Qaida leaders embracing fellow Sunni
                Muslims who share a strong belief in violent jihad, regardless of any
                sectarian differences;

         c)     Failing to address or acknowledge statements by Abdullah Azzam, Usama
                Bin Laden, and other key Al-Qaida leaders, associates, and/or financiers
                prior to 1993 (or the evidence of such statements) that disparaged the
                United States and Western world; framed the United States as an enemy of
                Islam and an enemy of the mujahideen; supported using Afghanistan as a
                base to train jihadists for external military operations; and, called for acts
                of violence targeting the United States and other Western nations;
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       d)      Failing to address or acknowledge corroborative evidence supporting the
               authenticity and credibility of the information contained in the so-called
               “Tareekh Osama file” regarding the founding of Al-Qaida and the
               secretive circumstances surrounding it—including the identities of key
               members and supporters; and

       e)      Failing to address or acknowledge statements by key leaders and
               associates from Makhtab al-Khademat and Al-Qaida regarding the
               founding of the Algerian Armed Islamic Group and the role of the jihad in
               Afghanistan.

2.      Although Makhtab al-Khademat (a.k.a. the Mujahideen Services Office, MAK) in
Peshawar, Pakistan was ostensibly formed to support the Afghan jihad, the organization
maintained active offices in the form of the Al-Kifah Refugee Center in New York,
Boston, Tucson (Arizona), and Zagreb, Croatia—reflecting its global reach and
ambitions. According to Abdullah Anas, the founders of the Services Office included
Abdullah Azzam, Mohammed Jamal Khalifah, Abu Hajer al-Iraqi, Abu Akram, Abu
Hudaifah, and Usama Bin Laden, who paid for its offices.1 In the book Al-Ansaru l’Arab
fi Afghanistan—published contemporaneously in 1991 by former WAMY/BIF official
Adel Batterjee and cited by the 9/11 Commission Final Report for providing “particularly
useful insight into the evolution of al Qaeda”—Bin Laden is quoted as explaining: “We
do not have a certain color. We do not belong to any certain party. If anyone from the
Muslim Brotherhood would like to do jihad, he is welcome. If anyone from El Tabligh,
the Salafists… [want] to do jihad the door is open. What is important is that the Services
Office is the party of all parties. Whoever wants to do jihad he is welcome.”2

3.      Until the time of his death in 1989, the Services Office was driven ideologically
by its primary founder, Shaykh Abdullah Azzam. Despite spending extended periods of
time touring the United States in order to raise money and recruit new followers on
behalf of the Services Office, Azzam was nonetheless militantly anti-Western and anti-
American in his beliefs, as he faulted “European masters” for favoring Israel over the
Palestinians. In an interview with the author of this report, Azzam’s son-in-law and
former MAK official Abdullah Anas recounted how Azzam was initially deeply
suspicious of Afghan mujahideen leader Ahmad Shah Massoud specifically because the
latter was perceived to be “close to the West,” leading Azzam to “write a book against
him, ‘Who is this Son of France?’”

4.      During fundraising speeches in the United States, Azzam minced few words about
how he felt about the United States and Western world. In a presentation in the Seattle
area in 1988, Azzam castigated Palestinians in the audience for accepting exile in the
United States to become “servants” of the “disbelievers.” “Come! Serve us and you are
allowed to buy land. Then your children grow up and the daughter goes astray, the son


1
 Interview with author.
2
 Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 102.
                                           -2-
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loses himself, you lose your religion, your homeland vanishes and you keep on talking
about Palestine.” He continued:

               …. You want to enter an American business, which gives
               you five hundred, or a thousand Dollars and you work for
               them? Everything of you pours into [the pockets of] Jewish
               industrialists, into their financial factories and into their
               banking houses. All of our blood, all of our sweat, our whole
               life pours now into the usurious banks of the Jews…. Do
               you want to get a piece of paper of a Jewish-American
               university? How much you have paid and work undertaken
               until you get the paper after five years. If you were only to
               work one fourth of what you have invested for this paper for
               Islam, to aid Islam.

5.     Referencing the concept of “ribat” or armed “frontier guarding,” Azzam
admonished his audience in Seattle that “one day of ribat on the path of God is more
beneficial then this entire world (dunya) and what’s on it. Not just better than Seattle,
Portland, Washington D.C., New York, or America, and U.S. companies and their Jewish
employers and their banks; more beneficial than the dunya and what’s in it.” Azzam
explained that “spending one hour on top of the mountains of Afghanistan, or within
Gaza, carrying with you just a revolver, firing at the enemy, at the Jew, this is more
benevolent than being in Seattle for sixty years.”3

6.      In his 1988 speech in Seattle, Azzam also identified the American military and
intelligence agencies as the enemy of the jihadi movement and scoffed at their
capabilities: “What has the CIA become in our cause? Like it is more powerful than the
Lord of the Worlds, operating on earth? (...) Who is more exalted (‘aliy)? Who is
stronger? Who is greater? Who is more powerful? The Lord of the Worlds or the CIA,
America, its missiles and what have you?” Azzam was very clear that the goal of his
efforts was to “establish an Islamic state,” which would not be possible “without combat
and slaughter:” “impossible… how can there be an Islamic state, the whole world, all the
enemies and all the infidels, have declared war against you, shooting at us with one
longbow, the Jews, Christians, and the apostates.”

7.      Abdullah Azzam was also proud of the notion that mujahideen training camps in
Afghanistan could help serve as a base to help “Islam return to the international agenda.”
He boasted to his followers in Seattle of “a connection between the Afghan jihad and
Palestine:” “now they are in terror of the [Muslim] youths present inside of Palestine
after they have uncovered that some of the youths are training in Afghanistan and will
return…. And the story of a young girl named Attaf, who wanted to use her car as a
bomb against a government building in Tel Aviv. They found out that two of the youths,



3
 “Nukhbat al-Ilam al-Jihadi: ‘Abdullah Azzam: Al-Jihad Between Kabul and Al-Quds.’” See
https://al-faloja1.com/showthread.php?t=93189. November 28, 2009.
                                            -3-
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who both prepared for the operation, have been trained in a military training camp of the
mujahideen in Afghanistan.”4

8.      Both Azzam and his erstwhile collaborator Usama Bin Laden spoke prior to 1991
about “the superpowers”—not merely just the Soviet Union—being the chief adversaries
of their jihadi movement. Bin Laden is quoted in the book Al-Ansaru al-Arab fi
Afghanistan as lamenting “the misconceptions in Muslims’ minds about Russians and
Americans being big powers and that their being invincible and that they have enough
technology and intelligence and so on.… Most of this is much exaggerated than the truth
and if someone believed in these exaggerations he would not move an inch!”5 Batterjee
likewise noted in his 1991 book that “Western attitudes” eventually became “hostile to
both the Arabs and the mujahideen because Jihad threatened the intentions of
conspiratorial schemes in Afghanistan, and hence the Arab brothers who insisted on the
continuation of Jihad and resisted these conspiracies, were considered as enemies of
moderation, peace, and of Afghanistan too.”6

9.     In his book, Batterjee repeatedly accused “disbelievers” in the U.S. of engaging in
“well-prepared plots” targeting the jihadi movement”7 and trying to “destroy Islam.”8
Former Muslim World League (MWL) representative “Abu Hassan al-Madani” (a.k.a.
Wael Jalaidan) is quoted derisively referring to a political coalition within Afghan rebels
as “American-made and it came to destroy the Jihad and abort it.”9 The book also
dismisses any idea of giving credit to the United States for its substantial support of the
mujahideen and roundly condemned “American war merchants and blood brokers,
sucking it out of the Afghan people’s veins for the lost honor of Vietnam war:”

               And thus the Islamic Jihad resistance carried the heavy
               burden and great responsibility designated not only by the
               Afghan people who were awaiting for their freedom and
               liberation, and not only the Islamic nations who were hoping
               and praying for those to succeed, for both largest blocs were
               fighting now on Afghani soil, where the Soviet greedy
               communist force will not be deterred from crushing the
               Afghani people’s skulls to force it control, and also



4
  “Nukhbat al-Ilam al-Jihadi: ‘Abdullah Azzam: Al-Jihad Between Kabul and Al-Quds.’” See
https://al-faloja1.com/showthread.php?t=93189. November 28, 2009.
5
  Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 87.
6
  Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 206.
7
  Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 128.
8
  Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 75.
9
  Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 131.
                                            -4-
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               American imperialism will not stop until the last drop of
               Afghani blood is spilled.10

10.     Batterjee pointed to how “in Palestine, the Americans and Russians were united
against Muslims.”11 A potential Afghan peace deal negotiated by the United Nations and
backed both by the Soviets and “the Americans and Westerners” was condemned as a
“new and treacherous conspiracy in which the Americans participated with the Soviets to
weave plots through a barter deal the shameful details of which were later revealed.”12

11.      The 1991 book by Adel Batterjee also addresses the thorny question of whether it
would be appropriate for Muslim jihadists to be aligning themselves with “the enemy”—
the United States—or accepting support from American sources. Citing arguments by
Abdullah Azzam and Muslim scholar Dr. Kamal Helbawi, the book paints it as nothing
more than a temporary marriage of convenience—insisting, “in this case, the Americans
had interests, the [Islamic] movement tried to make use of this opportunity and Afghans
tried also, it is very regretful that they were accused of collaborating with the enemy
because of this—if they did not make use of the circumstances, they would have been
accused of not making best use of the situation.”13

12.     According to Azzam’s son-in-law Abdullah Anas, a further evolution took place
within the Services Office in 1987 “when the Egyptian Jihadi group came to Peshawar
with their own agenda.” The Egyptians held even more hardline views than Azzam and
their radical beliefs began “spreading through the guesthouses in Peshawar…. By the late
1980s, they became a problem.” Defense expert Marc Sageman himself described in
Congressional testimony in 2003 how “a lot of the Egyptians went to Afghanistan, and
when they met there, they really developed this global perspective.”14 Abdullah Anas
indicated that by 1989, the Egyptians were contesting Azzam and his deputies for control
of the Service Office’s notorious Beit al-Ansar Guesthouse in Peshawar that was used to
house incoming mujahideen recruits. Numerous contemporary and credible sources—
including Abdullah Anas and Adel Batterjee—agree that a split took place starting in
1987 as Usama Bin Laden “became near to” veteran Egyptian jihadists and leaned toward
their direction. According to Anas, the split eventually metastasized into a “big battle
between us in Peshawar.” Anas ascribed Bin Laden’s shift in loyalties away from Azzam
and towards the Egyptian militants as the result of him “getting fed up with doing
fundraising and giving the money… his reaction was positive to them…. A split
happened…. He continued respecting Abdullah Azzam… but his money, his planning,

10
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 64.
11
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 57.
12
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 57.
13
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 57.
14
   See https://www.c-span.org/video/?177344-1/origins-impact-al-
qaida&event=177344&playEvent.
                                           -5-
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his agenda, his future, his daily working… was just with the Egyptians… with their logic
of how to serve the jihad.”15

13.     In Adel Batterjee’s book about the Afghan jihad, Abdullah Azzam is quoted
acknowledging how, by mid-1987, quarreling began to occur between Bin Laden and
some of his associates at the Services Office: “The administration staff had made some
mistakes in the office, so they met with Brother Usama, and they blamed each other.”
The disagreements concerned a variety of issues—from how money was raised, spent,
and allocated to the failures in enforcing rules and orders ignored by mujahideen fighters.
Abu Hajer al-Iraqi complained bitterly about how mujahideen recruits refused to follow
the rules of the Services Office and that not all of them “possessed the same degree of
education, preparation, or commitment.”16 In another episode, Egyptian Islamic Jihad
activist Ahmad Saeed Khadr (a.k.a. Abu Abdelrahman al-Kanadi) became embroiled in
an ugly, ultimately violent dispute with Abdullah Azzam over the funds allocated by a
relief agency to a local development project.17 According to Mohamed Loay Bayazid
(a.k.a. Abu Rida al-Suri), Bin Laden “began to give up the Services Office step by step,
and concentrated his efforts near Jaji [Afghanistan] where his equipment was working in
digging tunnels, until he finally got himself out of the Services Office.”18

14.     Frustrated with the feuding at the Services Office, Bin Laden setup a new area for
foreign mujahideen recruits at Shaykh Sayyaf’s Sada training camp without asking for
permission or notifying anyone in hopes of later presenting it as a fait accompli to
Azzam. According to Mamdouh Mahmoud Salim (a.k.a. Abu Hajer al-Iraqi), “After only
a few days, [Azzam] discovered the location, we thought: no harm, let us keep the news
confidential. At that time, even the brothers outside Pakistan would tell you: go to
Warsak camp for instance!! For that reason, we wanted to keep Sada away from useless
debate. Abu Abdullah [Bin Laden] was able to convince Shaykh Abdullah [Azzam] that
this work was special and confidential.”19 According to Salim, Bin Laden was trending
in the direction of “establishing a new entity, but this was without the intention of an
immediate full separation, or lack of coordination and collaboration, and respect until the
end.”20

15.    Batterjee notes that the word “separation” inevitably carries with it dark
overtones—but nevertheless insists that, “in fact, such aspirations and desired consensus

15
   Interview with author.
16
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 195.
17
   This episode involving Ahmad Saeed Khadr and detailed at length in the “Tareekh Osama” file
was later confirmed by the account of Mustafa Hamid in The Arabs at War in Afghanistan. Page
126.
18
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Pages 198-199.
19
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 199.
20
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Pages 199-200.
                                             -6-
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did not considerably influence the brotherly relationship among all at that time. Abu
Abdallah was so anxious, in as much as was Dr. Abdullah, may Allah have mercy on his
soul, about continuous coordination and cooperation under all circumstances.” Abu
Hajer al-Iraqi recalled that Bin Laden dismissed his pleas that they should “dissolve our
enterprise and start over again.” According to Abu Hajer, Bin Laden “did not announce
his severance because he does not like division”—but he had “a tendency to favor a
centralization policy… and felt obligated to assemble the Arabs in one location, train and
prepare them to be a ready fighting brigade.” Azzam’s senior lieutenant Shaykh Tamim
al-Adnani also took pains to play down the disagreement between Bin Laden and Azzam:
“Me and Shaykh Abdullah [Azzam] believed that youth should be directly assembled
with the Afghans and in the service of Afghans. Abu Abdullah [Bin Laden] may have
thought that the Afghan cause may be more useful to us in training than it would be to us
as individuals, as if he wished to make us benefit from Jihad more than we would benefit
it. We want to be useful to Jihad more than Jihad would be to us. There is a thin line of
difference between the two concepts, although both are considered Jihad.”21

16.     It is precisely this tumultuous time period in late 1988 around the founding of Al-
Qaida that is reflected in the Tareekh Osama documents published during the 2003
investigation of the Benevolence International Foundation (BIF) by the U.S. Attorney’s
Office in Chicago. The 9/11 Commission Final Report praised the recovery of the
Tareekh Osama and accompanying Tareekh Musadat files for providing “a wealth of
information on al Qaeda’s evolution and history.”22 An examination of these documents
sheds new light on a series of ugly disputes within the Services Office and why Bin
Laden and his associates decided to redirect their investment in the Services Office into a
new organization, Al-Qaida. Document “Tareekh Osama 29” directly refers to some of
the challenges faced by the Services Office in the wake of the internal quarreling that
peaked in the second half of 1988. The document urges “consulting with a lawyer
regarding financial accounts and affairs” and “unifying the administration, presenting
strong leadership for Peshawar, Sada, Warsak, and Al-Masada”—referring to the various
training camps and fault lines that had emerged between Bin Laden and the Services
Office in Peshawar. The document also notes an agreement conceding that the “camps
will remain”—presumably in reference to the ill will that Bin Laden had created by
establishing his own alternate bases and camps against the advice and without the consent
of his colleagues. In an explicit acknowledgement of the bitter complaints expressed
individually by Abu Hajer al-Iraqi, the document includes another compromise clause
specifically labeled “Abu Hajer” that “urges the brethren to be patient, pious, obedient,
and to practice abstinence.”

17.     Tareekh Osama 29 also strongly reflects the anti-Western worldview publicly
espoused by both Bin Laden and Azzam, commissioning “a printed declaration which
will explain the following: A.) The East’s and West’s agreement to prevent the
establishment of an Islamic nation and thorn. B.) The only solution is the continuation of

21
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 200.
22
   The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 467.
                                            -7-
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the armed Jihad.” Highlighting the necessity of “keeping alive the Jihadist spirit among
Muslims in general, and the Arabs in particular,” the document calls for “opening bases
for their Jihad along with maintaining contact lines with them.” The recommended
location for such jihadi camps was not Afghanistan, but instead identified in the
document as the Sudan. The rationale for this decision was not Sudan’s position as a key
defensive military frontline in the Muslim world, but rather its antipathy towards the
United States and its allies and its willingness to host terrorist groups that had run afoul
of U.S. and European security services.

18.     Tareekh Osama 54 appears to reflect tensions involving the key principals behind
the Services Office finally coming to a head in August and September 1988. An advisory
council was convened to address “the complaints” and “mismanagement and
mistreatment at Maktab Al-Khadamat” that included Bin Laden himself, Al-Qaida’s first
military chief Abu Ubaidah al-Banshiri, Wael Jalaidan, Tamim al-Adnani, Abu Hajer al-
Iraqi, Abdullah Anas, and others. On August 20, 1988, the advisory council endorsed
dividing the “military work” by the Arab mujahideen into two parts “according to
duration:”

               Limited duration… they will go to the Sada camp, get
               trained, then get deployed to the Afghan fronts, under the
               supervision of the Military Council. Open duration (long),
               they enter a testing camp and the best brothers of them are
               chosen, in preparation to enter Al-Qaida Al-Askariyya (the
               Military Base).23

19.      Tareekh Osama 54 summarizes a September 10, 1988 meeting by administrative
staff of Al-Qaida. Among the names listed present at the meeting—“Abu Khalid”—is
likely a reference to Egyptian national Abu Khalid al-Masri—“whose nickname was well
known as ‘the emir’ and who had strong military experience during his military service in
the Egyptian army,” and who had provided specialized training to mujahideen recruits at
Bin Laden’s fortified Masada base inside Afghanistan in 1987.24 Likewise, the entry
labeled “Yaseen” is likely a reference to “Yasin al-Iraqi,” who had also previously fought
under Bin Laden’s command while at the Masada base.25 The document also offers an
update from Al-Qaida military chief Abu Ubaidah al-Banshiri regarding “the existence of
thirty brothers in Al-Qaida, who meet the requirements.”26


23
   United States of America v. Enaam M. Arnaout. United States District Court Northern District
of Illinois, Eastern Division. Case #: 02 CR 892. Document name: /TAREEKHOSAMA//
Tareekh Osama 54.
24
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 236, 249.
25
   United States of America v. Enaam M. Arnaout. United States District Court Northern District
of Illinois, Eastern Division. Case #: 02 CR 892. Document name: /TAREEKHOSAMA//
Tareekh Osama 54.
26
   United States of America v. Enaam M. Arnaout. United States District Court Northern District
of Illinois, Eastern Division. Case #: 02 CR 892. Document name: /TAREEKHOSAMA//
Tareekh Osama 54.
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20.     Documents from the Tareekh Osama file also speak to the key financiers of the
Mujahideen Services Office and Al-Qaida in Afghanistan—including one paper in
particular that former Al-Qaida member Jamal al-Fadl has said listed “The Golden
Chain” of financiers. The financiers listed in the “Golden Chain” include, among others,
Saudi billionaire businessman Saleh Abdullah Kamel, the chairman and founder of the
Saudi Dallah al-Baraka Group. Likewise, in Adel Batterjee’s book on the Afghan jihad,
Abdullah Azzam is quoted discussing the first delegation of Arab mujahideen fighters to
receive instruction at the Badr training camp in Babi, Pakistan: “Shaykh Saleh Kamel–
one of the Saudi businessmen—committed himself to providing all its expenditures,
saying that ‘I would like to form Badr camp consisting of 313 persons brought upon
Islamic principles.’”27 Other names included as part of the “Golden Chain” of financiers
are undisputed Bin Laden associates Adel Batterjee and Wael Jalaidan, along with Bin
Laden family members.

21.      Another document, Tareekh Osama 50, concerns a discussion in November 1988
between Abu Rida al-Suri and what appears to be Usama Bin Laden, referred to only as
“The Shaykh.” At the time, Soviet troops were finishing their withdrawal from
Afghanistan, creating uncertainty about the future of the foreign mujahideen in the region
and “the essence of the idea which we had come for, since the beginning. All of this is to
start a new fruit, from below zero.” The document offers “an initial estimate, within 6
months for Al-Qaida, 314 brothers will be trained and ready.” It is clear that these are
not merely references to finding recruits for Bin Laden’s Masada military base intended
to fight the Soviets—as the document itself notes that the battle of the Masada had
already taken place “one and a half years ago, it was a period of education, building trust,
and testing the brothers who had come.”

22.     The same Tareekh Osama file also contains hints of the same misdeeds carried
out by Egyptian Islamic Jihad extremists that were later recounted by Abdullah Azzam’s
son-in-law Abdullah Anas. While few details are given, the document consoles, “As for
our Egyptian brothers, if they meant it, they are not to be blamed. There exists between
us and them the fundamental promises and accords for Afghanistan, or for any place
which appeals to me personally, and we are convinced of as a group. Their efforts in
standing by us in the darkest of circumstances cannot be ignored.”28 Abdullah Anas
claims that by 1991 and the publication of Dr. Ayman al-Zawahiri’s book The Bitter
Harvest, it became “especially clear” to him that the Egyptian jihadists were trying to
take over what Dr. Abdullah Azzam had built in the Services Office: “by ‘91, beginning
of ‘92, [Zawahiri] and Usama had their own camp, their own guesthouse, and they started
recruiting for Algeria and GIA, the opinions of GIA came from their camp…. I
understood later they were in Farouq Camp.”29


27
   Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
Publications; ©1991. Page 100.
28
   United States of America v. Enaam M. Arnaout. United States District Court Northern District
of Illinois, Eastern Division. Case #: 02 CR 892. Document name: /TAREEKHOSAMA/
/ Tareekh Osama 50.
29
   Interview with author.
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23.     In an interview with Asharq al-Awsat, former Saudi Arab-Afghan Hassan abd-
Rabbuh al-Surayhi noted that following the assassination of Abdullah Azzam in
November 1989, a mass of predominantly Egyptian mujahideen began to congregate at
the residence of Usama Bin Laden in Peshawar—eager to win his support and feed his
ego by “put[ting] him in the spotlight.”30 Al-Surayhi added, “Bin-Ladin’s finances were
not a secret to anyone and I think the Egyptians wanted to exploit this angle.” They
praised his virtues and convinced the young Saudi commander to wage an expansive
global jihad against the international enemies of Al-Qaida. Surayhi suggested further that
“[p]erhaps [Bin Laden] accepted the idea in order to become an amir so that all the
Islamic jihad groups would be under his control, especially those that are in Egypt which
are famous and well known.”31

24.      Even after the mysterious death of Abdullah Azzam, the Brooklyn-based MAK
satellite office—the Al-Kifah Refugee Center—continued to operate under the leadership
of Mustafa Shalabi, a disciple of the Egyptian Blind Shaykh Omar Abdel Rahman.
During this time period, Al-Kifah served as the locus for several key meetings between
senior Bin Laden associates and a group of Egyptian militants plotting terrorist attacks in
the United States, including (but not limited to): the January 1990 assassination of
Muslim sectarian leader Rashad Khalifa in Tucson, Arizona; the November 1990
assassination of radical Jewish organizer Meir Kahane at a Manhattan hotel; and the
February 1993 bombing of the World Trade Center. A partially declassified 1999 CIA
report provided to me by Plaintiffs’ attorneys endorses the conclusion that “World Trade
Center bomber Ramzi Yousef received safehaven from the MAK and that the MAK’s
US-based office was a focal point for Yousef and his co-conspirators.”32

25.     Bin Laden’s personal secretary Wadih El-Hage counted Meir Kahane’s
assassin—El-Sayyid Nosair—as a “friend” and El-Hage has admitted to meeting with
him and others at the Al-Kifah Center in Brooklyn “about three, four times.”33 Prison
records indicate that on March 11, 1991, El-Hage even visited Nosair while he was
already in jail and awaiting trial for the Kahane killing. Conversely, Wadih El-Hage has
admitted having extended conversations with convicted 1993 World Trade Center
bombing conspirator Mahmud Abouhalima “probably three times”—including in 1989
when he discussed the mysterious killing of Al-Kifah’s Brooklyn-based director Mustafa
Shalabi. Abouhalima had traveled to Peshawar in 1988 and fought in Afghanistan
alongside the Arab mujahideen recruited by the Services Office. He was widely known
among his peers for his vociferously anti-Western views—an ABC News correspondent
who met Abouhalima before the Trade Center bombing recalled him “mentioning that
America would lose the war against Islam…. ‘He had this contempt for materialistic


30
   Al-Banyan, Hasin. “Saudi ‘Afghan’ Talks About Involvement With al-Qa`ida, Bin-Ladin,
Related Topics.” Al-Sharq al-Awsat. November 25, 2001.
31
   Al-Banyan, Hasin. “Saudi ‘Afghan’ Talks About Involvement With al-Qa`ida, Bin-Ladin,
Related Topics.” Al-Sharq al-Awsat. November 25, 2001.
32
   CIA 385-411.
33
   United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court,
Southern District of New York. Trial Transcript, Trial Transcript Day 6. Page 737.
                                              -10-
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  America, even though he was here.’”34 According to El-Hage’s grand jury testimony,
  “One time he [Abouhalima] asked me if I can buy weapons for him to come and pick it
  up because he wanted to take it for the training, training the people he was sending to
  Afghanistan.”35 Presented with this evidence, prosecutors later asked Wadih El-Hage
  before the grand jury if he had “heard anyone working in Bin Laden’s organization talk
  bad about the United States” prior to Bin Laden’s formal 1996 declaration of war.
  Though El-Hage professed ignorance as to “who is from his organization, who is not,” he
  admitted he had “probably heard many people saying things like that.”36

  26.     It is especially paradoxical that defense experts are attempting to discount the role
  of Makhtab al-Khademat in the founding of Al-Qaida as these opinions run directly
  counter not only to U.S. government administrative designations—but perhaps more
  oddly, even to previous statements they themselves have made on the subject. Most
  notably, defense expert Sageman writes in his report that “the Maktab al-Khadamat was
  not the precursor of al Qaeda.” Yet, in his work Understanding Terror Networks,
  Sageman declared the exact opposite conclusion, describing “the Mekhtab al-Khidemat
  (the Services Bureau), a forerunner of al Qaeda.”37 If there exists some rationale or
  evidence that would explain why Sageman has made an about-face in his opinion on
  MAK, it is not cited in his report for the present case.

II.       Operation Bojinka, Wali Khan Amin Shah, and Mohammed Jamal Khalifah

  27.     Reports from defense experts Sidel and Benthall make a number of incorrect or
  misleading statements about “Operation Bojinka” and Mohammed Jamal Khalifah. The
  errors include but are not limited to failing to address or acknowledge the role of Wali
  Khan Amin Shah in Operation Bojinka and his close relationship at the time with Usama
  Bin Laden, as well as his links to Mohammed Jamal Khalifah.

  28.     “Operation Bojinka” was a failed but elaborate terrorist conspiracy that included a
  bid to simultaneously blow up as many as 11 U.S. airliners traveling over the Pacific
  Ocean engineered by 1993 World Trade Center bomber Ramzi Yousef and his uncle
  Khalid Sheikh Mohammed (KSM). Although the 9/11 Commission judged any direct
  involvement by Bin Laden in the plots to be “cloudy,” in September 1994, KSM enlisted
  the help of a well-known Afghan jihad veteran named Wali Khan Amin Shah (a.k.a.
  “Usama Azmarai”). According to the 9/11 Commission Final Report, KSM has since
  indicated that the intention was for “Operation Bojinka” to “receive financing from a
  variety of sources, including associates of co-conspirator Wali Khan.”38


  34
     See http://content.time.com/time/magazine/article/0,9171,162453,00.html.
  35
     United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court,
  Southern District of New York. Trial Transcript, Trial Transcript Day 6.
  36
     United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court,
  Southern District of New York. Trial Transcript, Trial Transcript Day 6.
  37
     (Understanding Terror Networks p. 123)
  38
     The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
  Upon the United States. July 22, 2004. Page 489.
                                                -11-
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29.     Khan’s exploits with the mujahideen in the Soviet-Afghan war had gained him the
respect and admiration of many of the Arab mujahideen, including Bin Laden himself.
The relationship between Bin Laden and Wali Khan only strengthened after the latter
stood alongside Bin Laden at his controversial Masada base inside Afghanistan. During
grand jury testimony, Bin Laden’s former personal secretary Wadih El-Hage
acknowledged that, by 1989, he understood Wali Khan to be “associated with Bin
Laden…. [H]e is very close friends to him and he has most of his secrets, most of Mr.
Bin Laden’s secrets.” El-Hage testified to having met with Wali Khan as many as five
times over the course of 1990 and even attending his wedding. When asked where Wali
Khan got his funding from, El-Hage replied, “I would think from Usama Bin Laden…
because he was working with him.”39 Queried as to why Wali Khan would be arrested by
the FBI, El-Hage ventured, “probably for the World Trade Center bombing.”40 A second
Al-Qaida operative—Mohamed Sadiq Odeh—later told FBI agents during an interview
that “he once heard several years ago that Bin Laden stated that al Qaeda would strike in
Thailand[sic] because… a ‘friend’ of al Qaeda”—referring to Wali Khan—“was arrested
there.”41

30.     KSM credits Wali Khan (along with himself and his nephew Ramzi Yousef) as
“among the earliest advocates of attacking the United States.”42 However, according to
media reports citing senior U.S. officials, when Wali Khan subsequently admitted to a
grand jury in the U.S. his involvement in an interlinked plot to assassinate U.S. President
Bill Clinton during a diplomatic visit to Asia, he also acknowledged that the order had
come from Bin Laden himself. 43 Asked about Wali Khan in a 1998 interview with
American journalist John Miller, Bin Laden demurred, “Wali Khan is a Muslim youth.
In Afghanistan, he is nicknamed ‘The Lion.’ He is one of the best youths. We were
good friends. We fought together in the same trench against the Russians until Allah sent
them away in humiliating defeat. You mentioned that he works for me —we do not have
anyone who works for someone else. We all work for Allah and await his reward. And
regarding your mention of his attempt to assassinate President Clinton, it is not
surprising. I did not know about it, but it is not surprising. As I said, every action solicits
a similar reaction.”44



39
   United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court,
Southern District of New York. Trial Transcript, Trial Transcript Day 6. Page 737.
40
   United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court,
Southern District of New York. Trial Transcript, Trial Transcript Day 6. Pages 811-816.
41
   United States District Court , Southern District of New York. 2001. U.S. v. Usama Bin Laden,
et al. (Interview of Mohammed Sadiq Odeh by FBI Agent John Anticev). Government Exhibit
GX-6, S(7) 98 Cr. 1023 (LBS).
42
   The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 489.
43
   See https://www.cbsnews.com/news/report-indictment-for-bin-laden/. See also
https://www.sfgate.com/news/article/Bin-Laden-named-in-plots-to-kill-Clinton-3073654.php.
44
   Miller, John. “Usama Bin Ladin: An Interview with John Miller.” ABC News. May 28, 1998.
See https://www.iwp.edu/wp-
content/uploads/2019/05/20140819_JohnMillers1998InterviewWithOsamaBinLaden.pdf.
                                              -12-
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   31.     In order to evade the attention of law enforcement and intelligence agencies, Wali
   Khan allegedly wired funds destined for the Bojinka plot through the local bank account
   of an employee of Bin Laden’s brother-in-law Mohammed Jamal Khalifah (a.k.a. Abu al-
   Baraa), another storied Saudi veteran of the Afghan jihad.45 Khalifah is credited with
   having established the Muslim World League (MWL) branch office in Peshawar under
   the blessing of Abdullah Azzam, with the branch initially being financed by Bin Laden.46
   He was also the longtime regional director for the operations of International Islamic
   Relief Organization (IIRO) in the Philippines. During a later interview with FBI agents,
   Bojinka plotter and 1993 World Trade Center bomber Ramzi Yousef recounted how Wali
   Khan had specifically given him the business card of Mohammed Jamal Khalifah “as a
   contact in the event [he] needed aid.” Yousef also admitted to the agents that he knew
   Khalifah was a relative of Usama Bin Laden—and who Bin Laden was—“but [he] would
   not further elaborate.”47

III.      Sulaiman Abu Ghaith

   32.     A report from defense expert Brown makes incorrect or misleading statements
   about senior Al-Qaida spokesman Sulaiman Abu Ghaith. The errors include but are not
   limited to characterizing Abu Ghaith as an ideological moderate who was personally
   opposed to the September 11, 2001 terrorist attacks on the United States. In June 2000,
   the charismatic Abu Ghaith—a popular hardline cleric in Kuwait—suddenly departed his
   homeland and traveled to Afghanistan where—despite his lack of battlefield
   credentials—he nonetheless became the “official spokesman” of the Al-Qaida network.

   33.     On October 7, 2001, in the immediate wake of the 9/11 terrorist attacks on the
   United States, Abu Ghaith gained global notoriety after appearing in a video message
   aired on Al-Jazeera as part of a trio that included Bin Laden and al-Zawahiri in order to
   claim responsibility for the attacks and promise further violence directed at the United
   States. Each of the men spoke during the video, and when his turn came, Abu Ghaith did
   not shy away from endorsing the methods used on 9/11:

                  What happened to [America] is because of its policies, and
                  if it continues using these policies, the Muslim sons will
                  never stop taking revenge against who attack them from
                  every corner, and to punish in the same manner, which is a
                  natural response…. This is our doctrine, and this is
                  awareness we carry in our hearts; we are moving forward in
                  the confrontation, Allah-willing, and if these [9/11] attacks
                  and this clear sign of divine anger at America hasn’t deterred
                  her or scared her, and the example of Russia hasn’t given her

   45
      Brzezinski, Matthew. “Agonized hindsight over early terror plot.” Washington Post. January
   6, 2002.
   46
      Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The Committee for Islamic Benevolence
   Publications; ©1991. Page 193.
   47
      FBI 302 Summary of Interview with Abdul Basit Mahmoud Abdul Karim by SA Bradley J.
   Garrett and SSA Ralph Horton. February 7-8, 1995.
                                               -13-
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               a lesson to learn, then she may know that the beginning of
               her collapse, Allah-willing, will be with the first step she
               takes on the land of Afghanistan…. The banner has risen and
               I don’t think that in our current time there has been a clear
               rising banner like this one [of faith] which waged jihad
               against the Jews and the Christians, and it waged Jihad
               against the Americans, and it waged jihad against those
               attempting to desecrate the sacredness of the Muslims, to
               occupy their homelands, and to shed their blood.48

34.     Two days later, Al-Jazeera aired another video statement from Al-Qaida, this one
featuring only Abu Ghaith representing the group as its official spokesman.

               U.S. interests are spread throughout the world. So, every
               Muslim should carry out his real role to champion his
               Islamic nation and religion. Carrying out terrorism against
               the oppressors is one of the tenets of our religion and
               Shari’ah. ‘Against them make ready your strength to the
               utmost of your power, including steeds of war, to strike
               terror into the hearts of the enemies of God and your
               enemies.’ I would like to touch on one important point in
               this address. The actions by these young men who destroyed
               the United States and launched the storm of planes against it
               have done a good deed. They transferred the battle into the
               US heartland. Let the United States know that with God’s
               permission, the battle will continue to be waged on its
               territory until it leaves our lands, stops its support for the
               Jews, and lifts the unjust embargo on the Iraqi people who
               have lost more than one million children. The Americans
               should know that the storm of plane attacks will not abate,
               with God’s permission. There are thousands of the Islamic
               nation’s youths who are eager to die just as the Americans
               are eager to live.49

35.     In late 2001, Al-Qaida’s official media wing, the As-Sahab Media Foundation,
released a propaganda video titled, “Convoy of Martyrs,” regarding graduates of its
training camps who had recently been killed during fighting in Afghanistan. Interspersed
among these biographies were clips of Sulaiman Abu Ghaith sitting cross-legged in an
outdoor location and offering poetic endorsements for violent jihad and “martyrdom”
while engaged in combat.50 Similarly, in June 2002, Al-Qaida’s then-official website Al-

48
   Statement by “Official Spokesman for the Al-Qaida Organization Sulaiman Abu Ghaith.” Al-
Jazeera. October 7, 2001.
49
   “Text of Sulaiman Abu Ghaith’s Video Statement Broadcast on Al-Jazeera Television on
October 9, 2001.” BBC News. October 9, 2001. See
http://news.bbc.co.uk/low/english/world/middle_east/newsid_1590000/1590350.stm.
50
   As-Sahab Media Foundation. “Convoy of Martyrs.” November 2001.
                                            -14-
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Neda (a.k.a. “the Center for Islamic Study and Research”) published a three-part series
allegedly written by Abu Ghaith himself titled, “Under the Shade of Swords”—in which
the Kuwaiti argues in support of Al-Qaida using weapons of mass destruction against the
United States: “We have not reached parity with them [Americans]. We have the right
to kill four million Americans—two million of them children—and to exile twice as
many and wound and cripple hundreds of thousands. Furthermore, it is our right to fight
them with chemical and biological weapons.”51 In late 2002, Al-Neda also republished
the transcript of an audio interview Abu Ghaith had conducted with an online jihadi
media group affiliated with the website Jehad.net. A text slug accompanying the
interview on Al-Neda twice identified Abu Ghaith specifically as “the official
spokesperson for the Al-Qaida organization.”52

36.    On April 11, 2002, an Al-Qaida suicide bomber detonated a natural gas truck
rigged with explosives in front of the Ghriba synagogue on the Tunisian resort island of
Djerba. The blast killed 19 people—including 14 German nationals and a French
national—and wounded more than 30 others. Two months later, on June 23, the Al-
Jazeerah satellite network aired an alleged audio recording of Sulaiman Abu Ghaith, in
which he claimed responsibility for the Djerba bombing on behalf of Al-Qaida.53
According to Abu Ghaith:

               As for the brothers in Djerba in the most recent event, yes,
               this was an operation carried out by Al-Qaida, a young man
               from our organization. He could not bear to see his brothers
               in Palestine being killed and massacred, and their blood
               being shed and their honor violated—while he watched the
               Jews in his city, Djerba, frolic about and enjoy themselves,
               performing their rituals as they please. And thus, that sense
               of duty and jihadi spirit ignited in his soul, and he carried out
               this unique, successful operation, and we ask Allah the
               Almighty to accept him.54

37.     During the same audio, Abu Ghaith also vowed Al-Qaida would launch further
attacks on U.S. interests: “neither Dick Cheney nor the U.S. Defense Secretary, nor the
U.S. President will be able to specify the place, the time or the manner in which these
attacks will be carried out.”55

38.      Following a sophisticated, multi-pronged Al-Qaida terrorist attack targeting
Israeli tourists in Mombasa, Kenya in November 2002, the Al-Qaida website Al-Neda

51
   “Under the Shade of Swords: Chapter 3.” Author: Sulaiman Abu Ghaith. Center for Islamic
Studies and Research (Al-Neda). http://66.34.191.223. June 2002.
52
   “The Complete Magazine Interview of Sulaiman Abu Ghaith by the Administrator of the
Jehad.net Website.” Center for Islamic Studies and Research (Al-Neda).
http://www.bkufus.com/image/img. May 2003.
53
   “Al-Qaeda claims Tunisia attack.” BBC News. June 23, 2002.
54
   See http://66.221.26.120/media/mokabala.rm. June 2002.
55
   See http://66.221.26.120/media/mokabala.rm. June 2002.
                                             -15-
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  published a new audio message purportedly from Sulaiman Abu Ghaith. The person in
  the recording noted:

                 I would like to reconfirm what the Political Bureau of the
                 Qaedat Al-Jehad Organization has stated concerning the two
                 attacks in Mombasa, Kenya against the Jewish interests and
                 the other Mujahideen operations against the Crusader-Jews
                 alliance during one year of persecution, expulsion that are
                 mentioned in the aforesaid statement. While the nature of
                 the work in the previous phase prohibited us from claiming
                 responsibility for our Jihad operations against this unjust
                 alliance, we find ourselves in a better state and stronger
                 position that enables us to do so…. The Crusader-Jewish
                 alliance will no longer be immune from the Mujahideen
                 attacks anywhere by the permission of Allah and we are
                 going to strike at its vital installations and strategic interests
                 with all means at our disposal and whoever acts upon the
                 principal of reciprocal is not unjust…. The hunt for the
                 enemy who is represented in the Crusader Jewish Alliance
                 by the weapon of (spreading) fear by which Allah (swt) has
                 led our Prophet (saws) and his noble companions to victory
                 as it is an effective weapon which must be used against the
                 enemy by widening the front lines and carrying out focused
                 and quick operations against his body which is spread over
                 a large area in this world so that he shall feel threatened,
                 insecure and instable on the land, sea and in the air.56

IV.      Abu Zubaydah al-Falastini

  40.     Reports from defense experts Brown and Sageman make a number of incorrect or
  misleading statements about Al-Qaida associate Abu Zubaydah al-Falastini. The errors
  include but are not limited to failing to address or acknowledge voluminous evidence
  (including an emphatic video testimonial) demonstrating a cooperative relationship
  between Abu Zubaydah and Al-Qaida that stretches back to at least late 1992, principally
  based on their shared desire to launch terrorist attacks on the United States and other
  Western countries.

  41.    According to the final report of the 9/11 Commission: “In late 1992, Abu Zubaydah
  confided to his diary that he was getting ready to go to one of al Qaeda’s military camps:
  ‘Perhaps later I will tell you about the Qaida and Bin Ladin group.’”57 Shortly before the
  September 11 terrorist attacks in the United States, Abu Zubaydah traveled from Pakistan

  56
     Center for Islamic Studies and Research (Al-Neda). http://www.cambuur.net/cocI/eed.ra.
  December 7, 2002. See also Global Islamic Media Front (GIMF). “[TRANSCRIPT] Al-Qaeda:
  Abu Gheith Speaks on Revisiting Kenya.” December 13, 2002.
  57
     The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
  Upon the United States. July 22, 2004. Page 468.
                                               -16-
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into Afghanistan in order to assist Al-Qaida and the Taliban. According to a subsequent
personal diary entry dated September 28, 2001:

               Maybe four or three months ago, I entered Afghanistan
               through Quetta-Kandahar, carrying 50,000 as a lacking
               effort, meaning an amount that is not much to participate in
               any Jihadist operation against the Jews…. I have been in
               Khost since a week ago, in the setting of the security and
               military preparation platform which Sheikh Bin Ladin is
               doing, to confront any American military landing. Work is
               at its highest degree, buying weapons, arming those without
               a weapon, storing weapons, preparing locations and lines of
               confrontation, and preparing ambushes.58

42.     In his diary, Abu Zubaydah discusses participating in planning meetings with
“Sayf al-Adl, the military official of Al-Qaida, and other brothers” and representatives of
the Taliban.59 He confessed: “I also see that this is the right time, to wage a war against
America.”60 A poem written in the diary from this time period reads:

               Today, your turn has come, America…. Today is your
               day…. Hide behind the airplanes, behind the submarines,
               behind the borders. Hide behind the missiles and nuclear
               weapons…. We have thrown away the sheath, And today
               raise a reaping sword…. Scream as long as you can. Run
               as fast as you can. Cry your eyes out. Today is your day,
               America.61

43.    Later in the diary, Abu Zubaydah admitted: “I wished to see America’s fall and
destruction, and the destruction of the State of Israel, and I wished to torture and kill them
myself with a knife…. God is my witness that I want to fight and quench my thirst from
them all, especially the Americans and the Jews.”62

44.   Following the September 11 terrorist attacks on the United States, the U.S.
government recovered unreleased video footage featuring Abu Zubaydah that appeared to




58
   See https://assets.documentcloud.org/documents/836227/notebook-6-the-diary-of-abu-
zubaydah.pdf.
59
   See https://assets.documentcloud.org/documents/836227/notebook-6-the-diary-of-abu-
zubaydah.pdf.
60
   See https://assets.documentcloud.org/documents/836227/notebook-6-the-diary-of-abu-
zubaydah.pdf.
61
   See https://assets.documentcloud.org/documents/836227/notebook-6-the-diary-of-abu-
zubaydah.pdf.
62
   See https://assets.documentcloud.org/documents/836227/notebook-6-the-diary-of-abu-
zubaydah.pdf.
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be intended for a jihadi propaganda film. In the video, Abu Zubaydah states the
following:

              To be truthful, I am not among those in favor of these press
              interviews and I never saw any benefit to it. Our enemies
              know why we are fighting them. Our friends, they know that
              we are rightful because we follow Allah and the messenger
              have said regarding killing the enemies of Allah; Jews or
              Christians or Apostates or Hindus or Atheists, all those, all
              enemies of Islam they are our enemies. However, in regards
              to the question that you raised, which is our relationship
              about terrorist operations as you call them and as we also call
              them terrorist operations. Because Allah commanded us to
              do them, Allah almighty said, ‘Strike the terror into the
              enemies of Allah, for they are our enemies’ therefore, when
              we terrorize them; we implement according that what Allah
              has commanded to us, end of the conversation. As to the
              events that transpired since 1990 to our present time, and
              accusation by the security apparatuses or by the unfaithful
              states or apostate states or by the Jewish nation, because we
              do have a relationship by virtue of most of the martyrs, uh,
              blowing up the Trade Center, which was undertaken by
              Ramzi Yousef, Allah bless him, by us and by the Muslims.
              Then, the operations in the Kingdom of Saudi Arabia in
              Khobar and Ulayyah. Then, the operations set up by the
              Sheikh Bin Laden in Kenya and Tanzania; then the Cole
              operation; then, the truly magnificent operations at the Trade
              Center on Manhattan Island and in areas around Washington
              and New York. Truthfully, I am one of the people who
              support the most such an operation wholeheartedly. But as
              to participation in them, this matter is a matter between us
              and Allah. We ask Allah almighty to accept us for any
              support we gave, whether financial, strategic, or through
              implementation. And we ask him to accept those of our
              brothers who did them. Yes, we acknowledge and affirm
              that we are with any group that asserts the unity of Allah, by
              means of operations and that supports Allah in word and
              deed and in thought. We support them with money, with
              efforts, with ideas, with coordination; we are with them.
              Enemies of Allah shall not rest, Allah willing. Truthfully, I
              belittle myself before our elder sheikhs. I see myself as
              nothing more than a small child before them. But everyone
              must contribute to this effort…. As I said, I never approved
              of these interviews, except to inform the wise that our enemy
              should know why we do that we do: the Jews, the Christians,
              America, and all who ally with her. Some say, ‘We are

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                extracting revenge.’ Yes, we are extracting revenge for every
                Muslim and every Muslima. In my view, a Muslim who
                delays in reacting is an apostate, without exception.63

V.      The Saudi Government Position On the Role of Islamic Charities in
        Supporting Al-Qaida

 45.      Reports from defense experts Blankinship, Freeman, Marks, Barron, Benthall, and
 Brown make a number of incorrect or misleading statements about the role that Saudi-
 based Islamic charities (and Islamic charities more broadly) have played in financing
 terrorist organizations including specifically Al-Qaida. Perhaps most importantly, they
 have completely ignored many statements from the Saudi government acknowledging
 that this is an undisputed fact. They also fail to address evidence unearthed by Saudi
 government agencies themselves that even after public interventions by the Saudi
 government, these charities have continued to violate money transfer regulations aimed at
 preventing terrorist financing.

 46.     Various government agencies and senior officials from the Kingdom of Saudi
 Arabia have made it abundantly clear that they concur with the assessment that the
 misuse of Islamic charities has played a significant role in the financing of contemporary
 terrorist activities, including specifically to support Al-Qaida. According to the Saudi
 Ministry of Interior, “several cases of exploitation of charitable work had been detected”
 inside Saudi borders.64 Saudi government representatives have decried the “charitable
 sector’s vulnerability to abuse by evil-doers.”65 In official literature released by the Saudi
 government, former Saudi Ambassador to the United States and Minister of Foreign
 Affairs Adel al-Jubeir admitted that “in the past, we may have been naïve in our giving
 and did not have adequate controls over all of our donations. As a consequence, some
 may have taken advantage of our charity and generosity.”66 The Saudi government has
 specifically determined that the misuse of Saudi-based charities and their branches was
 used to support “terrorist activities and terrorist organizations such as Al-Qaeda.”
 According to former Saudi Ambassador to the U.S. Prince Bandar bin Sultan: “Nothing
 can be more evil than the act of collecting money intended for charity and then diverting
 that money to support the murder of the innocent.”67 Saudi government reports on
 terrorist financing have repeatedly emphasized that “terror networks thrive on illicit
 funding, often hiding behind charitable organizations.”68 Indeed, Saudi Arabia has even

 63
    Video of Abu Zubaydah al-Falastini released by U.S. Department of Defense.
 64
    See https://www.moi.gov.sa/wps/wcm/connect/367f4040-9dd4-4dc0-ba0d-
 a19751ccd86b/Kingdom+Efforts+in+Combating+Terrorism.pdf?MOD=AJPERES.
 65
    See https://www.saudiembassy.net/press-release/saudi-arabia-announces-counter-terrorism-
 measures.
 66
    See https://www.saudiembassy.net/press-release/saudi-arabia-announces-counter-terrorism-
 measures.
 67
    See https://www.saudiembassy.net/press-release/saudi-arabia-and-united-states-jointly-
 designate-four-organizations-financiers.
 68
    See
 https://www.saudiembassy.net/sites/default/files/Fact%20Sheet%20-%20KSA%20Combats%20T
                                             -19-
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  made its own regional “terror designations” in conjunction with the United Arab Emirates
  targeting alleged Al-Qaida operatives in Yemen receiving funding from Islamic charities
  in Qatar. According to one such designation in 2017: “The three Yemeni individuals and
  the three organizations in Yemen, have provided support to Al-Qaeda, and have
  conducted actions on its behalf, mainly by using significant funding from Qatari charities,
  which are designated by the four states as terrorist entities.”69

  47.     Nonetheless, despite this recognition and a resulting flurry of high-profile
  regulation and new oversight aimed at curbing the use of charities to fund terrorism, the
  Saudi government has acknowledged that charities including the International Islamic
  Relief Organization (IIRO) and the World Assembly for Muslim Youth (WAMY)
  continue to violate highly publicized rules on cash fundraising and proper accounting
  procedures. In January 2015, Saudi government agencies in Asir reportedly banned 9
  IIRO offices from collecting donations after they were monitored allegedly accepting
  cash for “social welfare projects—“violating an agreement on the matter signed by the
  Saudi government and the Muslim World League (MWL), the mother body of the
  IIRO.”70 A 2018 report from Saudi Arabia’s official Anti-Money Laundering authority
  warned that on-site inspections of IIRO and WAMY offices in 2016 led to several offices
  being shuttered for “several administrative and financial violations… to ensure that
  financial and administrative imbalance is not exploited.”71

VI.      The U.S. Government Position On the Role of Saudi Islamic Charities in
         Supporting International Terrorism
  48.      Reports from defense experts Blankinship, Freeman, Marks, Barron, Benthall, and
  Brown make a number of incorrect or misleading statements about the role that Saudi-
  based Islamic charities (and Islamic charities more broadly) have played in financing
  terrorist organizations including specifically Al-Qaida. Documents from U.S.
  government agencies—both public and secret, across multiple White House
  administrations of varying political parties—have resoundingly concluded that Saudi
  Islamic charities have played a pivotal role in supporting international terrorism. In order
  for the assertions of the defense experts to be correct, dozens of U.S. intelligence reports,
  law enforcement investigations, administrative decisions, and federal court rulings would
  all need to be grossly invalid. Although I have already cited many such sources in my
  initial report, I take the opportunity here to add additional illustrative sources, including
  those that have been made available to me by Plaintiffs’ counsel.

  49.     I have been provided with a copy of a partially declassified January 1999
  “Intelligence Report” from the U.S. Central Intelligence Agency DCI Counterterrorist

  error%20Financing_%20January2019.pdf. See also
  https://www.saudiembassy.net/sites/default/files/Fact%20sheet%20-%20Combating%20Terror%
  20Financing.pdf.
  69
     See https://www.saudiembassy.net/statements/joint-statement-saudi-arabia-uae-bahrain-and-
  egypt-relating-new-terror-designations.
  70
     See https://www.arabnews.com/saudi-arabia/news/690301.
  71
     See http://www.aml.gov.sa/en-
  us/MutualEvaluation/MER%20of%20Kingdom%20of%20Saudi%20Arabia%202018.pdf.
                                              -20-
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Center titled, “How Bin Ladin Commands a Global Terrorist Network.” The report
notes: “In addition to support from other groups, Bin Ladin taps into the resources of
some international Islamic nongovernmental organizations (NGOs) for financial and
logistical support. Employees—ranging from accountants to directors—of a few NGO
branch offices have diverted resources to benefit Bin Ladin and his associates…. Bin
Ladin exploits these NGO ties to channel funds and obtain cover employment and travel
assistance for his associates.”72

50.     I have been provided with a copy of a partially declassified November 2002
report from the U.S. Central Intelligence Agency Directorate of Intelligence titled,
“Saudi-Based Financial Support for Terrorist Organizations.” The report opens with the
“key finding” that “Saudi Arabia is a key base of financial support for al-Qaida” and
“[m]ost of the money originates from wealthy individuals, fundraisers who solicit smaller
donations, and diversions from non-governmental organizations (NGOs).” It also warns
that Al-Qaida has been able to “exploit” several “Saudi-based NGOs… by diverting
funds from legitimate activities to finance al-Qaida.”73

51.    I have been provided with a copy of a partially declassified April 1999 report
from the U.S. Central Intelligence Agency DCI Counterterrorist Center titled, “Islamic
Terrorists: Using Nongovernmental Organizations Extensively.” The report notes:

                  Many Islamic terrorist and extremist groups… rely on
                  nongovernmental organizations (NGOs) for funding…. The
                  availability of funds, cover, and logistics networks makes
                  NGOs an appealing resource for terrorist groups…. In a few
                  instances, entire NGO offices, including senior management
                  positions, are staffed by extremists…. Most efforts by
                  Persian Gulf states to curb terrorist use of NGOs by
                  restricting the collection of funds within their borders have
                  been ineffective, largely because the steps taken do not
                  address the diversion of resources at the branch offices.
                  Domestic popular support in the Gulf states for the work of
                  Islamic NGOs often outweighs pressure on these
                  governments to improve accountability.74

52.     Of the three types of Islamic NGOs cited in the report as “used by terrorists,” two
were specifically noted as likely “based in Saudi Arabia or one of the Persian Gulf
states.” Regarding Al-Qaida specifically, the report stated, “Bin Ladin apparently has
created his own NGOs and planted members of his organization, al-Qaida, in others.”75

53.   In February 2007, the U.S. embassy in Khartoum, Sudan sent a classified
diplomatic cable to the U.S. Secretary of State warning that the International Islamic

72
   CIA 182-196.
73
   CIA 285-300.
74
   CIA 385-411.
75
   CIA 385-411.
                                              -21-
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   Relief Organization (IIRO) “is one of the major Saudi Arabian humanitarian
   organizations suspected of maintaining links with al-Qaeda” and “remains the most
   important Saudi relief agency.” The State Department cable further indicates that
   “Usama bin Ladin used the entire IIRO network for his terrorist activities.”76

   54.     In June 2008, the U.S. Treasury Department took punitive actions targeting the
   Saudi charity known as the Al-Haramain Islamic Foundation “for having provided
   financial and material support to al Qaida.” In announcing the decision, the Treasury
   Department noted that their action “targets the entirety of the AHF organization,
   including its headquarters in Saudi Arabia.” Although the action taken by the U.S.
   Treasury implicated senior Saudi managers of the charity in knowingly supporting Al-
   Qaida, the action was nonetheless endorsed by the Saudi government and as a result, Al-
   Haramain “has largely been precluded from operating in its own name.”77

   55.     A December 2009 diplomatic cable from Secretary of State Hillary Clinton
   warned that, even 8 years after the 9/11 attacks, “it has been an ongoing challenge to
   persuade Saudi officials to treat terrorist financing emanating from Saudi Arabia as a
   strategic priority.” According to Secretary of State Clinton, despite efforts by the Saudis
   to curb the problem, “donors in Saudi Arabia constitute the most significant source of
   funding to Sunni terrorist groups worldwide.” Clinton noted that “reforms to criminalize
   terrorist financing and restrict the overseas flow of funds from Saudi-based charities” had
   failed to stop “organizations such as the International Islamic Relief Organization (IIRO),
   Muslim World League (MWL), and the World Assembly of Muslim Youth (WAMY)”
   from “continu[ing] to send money overseas and, at times, fund[ing] extremism
   overseas.”78

VII.       Internal Dynamics of Power in the Kingdom of Saudi Arabia

   56.    Reports from defense experts Freeman, Blankinship, Sageman, and Benthall make
   a number of incorrect or misleading statements about the internal dynamics of power in
   the Kingdom of Saudi Arabia, and that ignore interests, policies, and activities of the
   Kingdom that conflict with their proffered narratives.

   57.     Initially, I understand that the Kingdom of Saudi Arabia is itself a defendant in
   this lawsuit, and I understand Plaintiffs will be addressing issues relating to the Saudi
   Government’s role in the rise of al-Qaida and events of September 11, 2001 in the
   context of those claims. However, a brief comment on the opinions expressed by the
   defendants’ experts is warranted here.

   58.     The defendants’ experts argue that public diplomatic declarations by certain Saudi
   officials of support for the United States are in some way incompatible with Plaintiffs’
   claims. Innumerable foreign policy experts and policymakers have rejected this

   76
      U.S Department of State diplomatic cable. February 13, 2007.
   77
      See https://www.treasury.gov/press-center/press-releases/Pages/hp1043.aspx.
   78
      U.S Department of State diplomatic cable. December 30, 2009.
                                                -22-
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simplistic, one-dimensional view of the Saudi-U.S. relationship, and there is an
overwhelming amount of evidence showing that the Kingdom has often acted contrary to
U.S. interests with respect to the very matters at issue here.

59.      At base, the argument offered by the defendant’s experts ignores the complexities
of the Saudi-U.S. relationship, the competing forces within the Saudi power structure
itself, and the fact that the Kingdom’s own interests were often served, at least in the
view of Saudi leadership, by promoting ideas and activities of Saudi religious elements
that were contrary to American interests. The 9/11 Commission recognized these
realities when it described the Kingdom as a “problematic ally in combating Islamic
extremism,”79 noted the frequent unwillingness of Saudi officials to cooperate in critical
counterterrorism investigations,80 and confirmed the “likelihood that charities with
significant Saudi government sponsorship diverted funds to al Qaeda.”81

60.     Indeed, the 9/11 Commission recognized that the Kingdom fully embraced a
radical view of Islam and sought to export it around the globe:

                In the 1980s, awash in sudden oil wealth, Saudi Arabia
                competed with Shia Iran to promote its Sunni fundamentalist
                interpretation of Islam, Wahhabism. The Saudi government,
                always conscious of its duties as the custodian of Islam’s
                holiest places, joined with wealthy Arabs from the Kingdom
                and other states bordering the Persian Gulf in donating
                money to build mosques and religious schools that could
                preach and teach their interpretation of Islamic doctrine. 82

61.     As a result, al Qaeda enjoyed considerable support from within Saudi Arabia,
including from elements within the Saudi government itself. For instance, a 2005 joint
FBI/CIA intelligence report “assessing the nature and extent of Saudi Government
support of terrorism” noted that “the Saudi Government and private Saudi individuals
support the propagation of the conservative Wahhabi-Salafi sect of Sunni Islam…
Jihadists adhere to and interpret this sect’s beliefs to justify their actions.” Within that
context, the report warned that “the Saudi Government and many of its agencies have




79
   The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 371.
80
   The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 122.
81
   The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 171.
82
   The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 52. See also page 362 (“Usama Bin Ladin and other
Islamist terrorist leaders draw on a long tradition of extreme intolerance within one stream of
Islam (a minority tradition), from at least Ibn Taimiyyah, through the founders of Wahhabism.”).
                                             -23-
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been infiltrated and exploited by individuals associated with or sympathetic to [Al-
Qaida].”83

62.     Even within the Royal Family, the reality of Saudi internal politics was far more
complex during this period than the defendants’ experts acknowledge. The al-Saud
family is not a monolith—it is an amalgamation of fiercely competing royals, not all of
whom share the same worldview or friendly sentiments towards the United States. The
elder Prince Nayef Bin Abdelaziz (a.k.a. “The Black Prince”) is one example of this
phenomenon. Prince Nayef is the former Saudi Interior Minister and was tasked with a
key role in overseeing Saudi counterterrorism efforts for more than two decades.
According to President Clinton’s former Middle East advisor Bruce Riedel who recalled
dealing “extensively” with him, Prince Nayef was “cordial but often uncooperative…
reluctant to share with the Americans information.” According to Riedel, “I felt the
deeper reason was that he was, essentially, anti-American.”84

63.    Given the Kingdom’s official embrace of Wahhabi Islam, it is not surprising that
the Kingdom became the “epicenter” of terrorist financing,85 and that Saudi charities
were involved in spreading this anti-American, anti-western, anti-democratic Wahhabism
around the world, including the Al-Haramain Islamic Foundation. According to the 9/11
Commission Staff Monograph, Al-Haramain “exists to promote Wahhabi Islam by
funding religious education, mosques, and humanitarian projects around the world.” 86



83
   See
https://web.archive.org/web/20161208124549/https://www.cia.gov/library/reports/Executive_Su
mmary_of_Joint_FBICIA_Report_on_Extent_of_Saudi_Government_Support_for_Terrorism.pdf
84
   See http://csweb.brookings.edu/content/research/essays/2015/the-prince-of-
counterterrorism.html.
85
   Terrorism Financing: Origination, Organization, and Prevention, Hearing Before the U.S.
Senate Committee on Governmental Affairs (July 31, 2003), Statement of Senator Susan M.
Collins (“Last month, the General Counsel of the Treasury Department testified before the
Terrorism Subcommittee of the Judiciary Committee that in many cases Saudi Arabia is the
‘epicenter’ of terrorist financing. The Council on Foreign Relations report found that for years
individuals and charities based in Saudi Arabia have been the most important source of funds for
al-Qaeda and that for years Saudi officials have turned a blind eye to this problem.”); Efforts to
Combat Terrorism Financing, Hearing Before the U.S. Senate Committee on Banking, Housing
and Urban Affairs (September 25, 2003), Testimony of former Treasury Department General
Counsel David D. Aufhauser: (“I have testified before that Saudi Arabia has been an ‘epicenter’
of terrorist financing.”).
86
   9/11 Commission Staff Monograph on Terrorist Financing. Page 114. See also page 115
(“Two government ministers have supervisory roles (nominal or otherwise) over al Haramain,
and there is some evidence that low-level Saudi officials had substantial influence over various
HIF offices outside of Saudi Arabia.”) See also 9/11 Commission Report at page 114 (“Some
Wahhabi-funded organizations have been exploited by extremists to further their goal of violent
jihad against non-Muslims. One such organization has been the al Haramain Islamic
Foundation.”); Department of Defense Unclassified Summary of Evidence for Detainee Sami al
Hajj (September 11, 2007) (Al-Haramain’s “main mission is to implement and teach true
Wahhabism religious doctrine worldwide.”).
                                               -24-
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    64.     These regrettable realities have since been acknowledged in hindsight by the
    Saudi government itself, including by Saudi Arabia’s Crown Prince Mohammed bin
    Salman—who in 2017 publicly condemned the “extremist thoughts” that are “not
    normal” and have yet nonetheless come to dominate Saudi Arabia in the contemporary
    era: “What happened in the last 30 years is not Saudi Arabia. What happened in the
    region in the last 30 years is not the Middle East. After the Iranian revolution in 1979,
    people wanted to copy this model in different countries, one of them is Saudi Arabia. We
    didn’t know how to deal with it.”87

    65.    The Kingdom has acknowledged these problems and their direct link to terrorism
    through its actions as well. For instance, the Kingdom has in recent years implemented
    reforms to the Ministry of Islamic Affairs and the religious establishment and trumpeted
    them as critical counterterrorism initiatives, including terminating hundreds of Imams
    and suspending thousands more, imposing electronic monitoring of all mosques in Saudi
    Arabia, eliminating extremist views from government-sponsored religious materials, and
    enacting new laws to ensure that charitable contributions are sent only to legitimate
    humanitarian organizations. 88

VIII.      The Relationship Between Al-Qaida and the Taliban

    68.     A report from defense expert Brown make a number of incorrect or misleading
    statements about connections between Al-Qaida and the Taliban, suggesting that they
    actually have little to do with one another. Although the precise nature of the relationship
    between Al-Qaida and the Taliban has been the subject of some debate, there is an
    overwhelming amount of evidence that the two groups have enjoyed a close, symbiotic
    relationship with each other over the past 23 years. Even setting aside Usama Bin Laden
    himself, a host of senior Al-Qaida leaders and Shura Council members have directly
    collaborated with the Taliban in the field and have established close, personal
    relationships with Taliban leaders. Al-Qaida’s former “Internal Operations Chief” Abd
    al-Hadi al-Iraqi—who speaks local languages as well as Arabic—was known to be
    especially close to the Taliban elite, including Mullah Mohammed Omar. According to
    the U.S. Department of Defense, Abd al-Hadi “worked directly with the Taliban to
    determine responsibility and lines of communication between Taliban and al-Qaida
    leaders in Afghanistan, specifically with regard to the targeting of U.S. forces.”89

    69.     Nor was he alone—according to Al-Qaida’s official Al-Sahab media wing, former
    Al-Qaida Shura Council member Abu al-Hasan al-Masri “took part in a number of battles
    in the ranks of the Taliban, and a number of responsibilities were assigned to him, among
    them the responsibility for the Arab brothers on the Kabul frontline.” During an



    87
       See https://www.theguardian.com/world/2017/oct/24/i-will-return-saudi-arabia-moderate-
    islam-crown-prince.
    88
       White Paper: Kingdom of Saudi Arabia and Counterterrorism (May 2016). Pages 24, 25, 32,
    39, 75.
    89
       See http://www.defenselink.mil/news/Apr2007/d20070427hvd.pdf. July 2009.
                                                -25-
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interview with As-Sahab released in 2008, al-Masri recounted how Al-Qaida and the
Taliban first established a trusted relationship in Afghanistan starting in 1997:

               The Taliban came to the Jalalabad when we were with
               Shaykh Yunus Khalis (may Allah have mercy on him).
               Mullah Mohammed Omar sent a letter and sent a delegation
               from his side to Shaykh Usama asking him to move from
               Jalalabad to Kandahar, for the reason that Hajji Qadir that
               major criminal Hajji Qadir and some resembling him in
               Jalalabad as well as his son had attempted to carry out some
               operations against Shaykh Usama in the Jalalabad
               compound, known as ‘Najm al-Jihad.’ The attempts were
               numerous but Allah granted success to the Taliban and they
               confiscated those weapons and ammunitions which they had
               intended to use to carry out an operation against Shaykh
               Usama (may Allah protect him). Mullah Mohammed Omar,
               out of concern for Shaykh Usama and because he knew the
               Shaykh from before, wrote to him and told him to come to
               Kandahar. So we went to Kandahar and met the Commander
               of the Faithful, who is a humble man, and everyone knows
               who the Commander of the Faithful is. The sun doesn’t need
               anyone to talk about it, and we consider him to be a sun, and
               Allah is his reckoner.90

70.     In the wake of the September 11, 2001 terrorist attacks on the United States,
Usama Bin Laden took pains to emphasize to his followers and supporters the credibility
and reliability of the Taliban as an ally in Afghanistan. In video footage later released by
As-Sahab, Bin Laden is quoted explaining: “So the picture of the Taliban is clear,
because they have allowed us to prepare and train, despite the international pressure, and
while knowing that we are getting ready to strike the Huban (idol) of this age, the
American forces and the NATO pact. So this is a clear indication of their
methodology.”91 Ranking representatives from both Al-Qaida and the Taliban have since
made public statements endorsing the notion that they enjoy a close partnership and
working relationship. According to Al-Qaida Shura Council member Abu al-Hasan al-
Masri, the “claim that al-Qaida works separately from the Taliban… is a lie and a false
accusation. On the contrary, we and the Taliban are inseparable and are a single entity.
And for Allah is all praise, our commander Shaykh Usama has pledged allegiance to the
Commander of the Faithful Mulla Muhammad Umar, and the Muslims are as one against
those other than them.”92 Likewise, in September 2009, Al-Qaida’s As-Sahab Media
published an exclusive video interview with the Taliban military commander of

90
   As-Sahab Media Foundation. “Commander Abu al-Hasan: Jihad and Martyrdom.” July 8,
2008. See http://www.alhesbah.net/v/showthread.php?t=185183.
91
   As-Sahab Media Foundation. “Knowledge is for Acting Upon.” See
http://www.alhesbah.org/v/showthread.php?t=84585. September 10, 2006.
92
   As-Sahab Media Foundation. “Commander Abu al-Hasan: Jihad and Martyrdom.” July 8,
2008. See http://www.alhesbah.net/v/showthread.php?t=185183.
                                            -26-
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Afghanistan’s Paktika Province, Mawlawi Sangin. When asked “how is your
relationship with your brothers in the Al-Qaida Organization, and what is the depth of
your coordination,” Sangin replied:

               Thanks to Allah, Al-Qaida and the Taliban are all Muslim
               and we are grouped by brotherhood in Islam, and we do not
               see the difference if there is Taliban or Al-Qaida as all we all
               belong to the faith of Islam. And Sheikh Usama has given
               allegiance to the Amir of Believers [Mullah Mohammed
               Omar] and assured the leadership of the Amir of Believers
               frequently, and there isn't any difference between us as we
               are grouped by Islam and we are governed by the Islamic
               Sharia, and just as the infidels are one group, also are the
               Muslims, and they [the infidels] will not succeed in their
               attempt to cause alienation amongst the mujahideen; that
               there is a separation between Al-Qaida and Talib and that
               Al-Qaida are terrorists and insurgents and other
               terminologies they use, but with Allah's grace this will not
               affect our brotherly relationship. And now they began
               causing alienation amongst the Taliban saying one side [of
               the Taliban] is extremist and the other is moderate, but the
               truth is that we are all the same people brought together by
               Islam.93

71.    This narrative has kept fairly consistent in the years since 9/11, even until today.
In May 2019, Al-Qaida’s As-Sahab Media released a video titled “Under the Shade of the
Islamic Emirate: Paktika – Ambush on the Convoy of Afghan National Army in the
Hindi Mountains”—which purported to show footage from an ambush of an Afghan
army convoy in Paktika. As the video plays, caption text on the screen reads “Under the
leadership of the Islamic Emirate of Afghanistan, the Ansar and Muhajir mujahideen
decided to lay an ambush for this convoy.”94 In this sentence, the “Islamic Emirate of
Afghanistan” refers to the Taliban, the “Ansar” are fighters of local Afghan origin, and
the “Muhajir mujahideen” are foreign fighters affiliated with Al-Qaida.

72.      The conclusion that Al-Qaida and the Taliban are tightly intertwined in
Afghanistan and that they have—and continue—to work together cooperatively is one
that is shared by both former Taliban leaders and senior Western officials. According to
former Taliban governor Abdul Salam Hanafi, Al-Qaida and the Taliban have closely
collaborated on the latter’s peace negotiations with the United States: “Al-Qaeda trained
the Taliban for the talks…. It’s a bond that cannot be broken.”95 In an interview with the
93
   As-Sahab Media Foundation. “Interview with the Military Commander in Paktika Mawlawi
Sangin.” See https://www.al-faloja1.com/showthread.php?t=81856. September 1, 2009.
94
   As-Sahab Media Foundation. “Under the Shade of the Islamic Emirate: Paktika – Ambush on
the Convoy of Afghan National Army in the Hindi Mountains.” May 2019.
95
   See https://www.washingtonpost.com/world/asia_pacific/taliban-al-qaeda-
afghanistan/2020/12/07/79d4bddc-3414-11eb-9699-00d311f13d2d_story.html.
                                            -27-
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BBC, the coordinator of the UN’s Islamic State, Al-Qaida, and Taliban Monitoring Team
Edmund Fitton-Brown confirmed that recent peace talks had “not substantively” harmed
the Taliban’s relationship with Al-Qaida: “The Taliban were talking regularly and at a
high level with al-Qaeda and reassuring them that they would honour their historic ties….
Al-Qaeda are heavily embedded with the Taliban and they do a good deal of military
action and training action with the Taliban, and that has not changed.”96

73.    A May 2020 report by Fitton-Brown’s United Nations team offers more context
and detail about the interactions between the two groups, noting:

                Relations between the Taliban, especially the Haqqani
                Network, and Al-Qaida remain close, based on friendship, a
                history of shared struggle, ideological sympathy and
                intermarriage. The Taliban regularly consulted with Al-
                Qaida during negotiations with the United States and offered
                guarantees that it would honour their historical ties. Al-
                Qaida has reacted positively to the agreement, with
                statements from its acolytes celebrating it as a victory for the
                Taliban’s cause and thus for global militancy…. The
                Monitoring Team has frequently highlighted the link
                between Al-Qaida and the Taliban in its reports, links that it
                assesses have remained strong since the removal of the
                Taliban regime 18 years ago and which have been
                continually reinforced by pledges of allegiance from Al-
                Qaida to the Taliban Amir al-Mu’minin, or ‘leader of the
                faithful.97

74.     The UN monitoring report specifically highlighted evidence that “Al-Qaida and
the Taliban held meetings over the course of 2019 and in early 2020 to discuss
cooperation related to operational planning, training and the provision by the Taliban of
safe havens for Al-Qaida members inside Afghanistan.”98 The report also noted that “the
Monitoring Team was informed of six reported meetings between Al-Qaida and Taliban
senior leadership held over the past 12 months. The most notable of these was a
meeting… that took place in Sarwan Qalah District of Helmand Province, at which Sadr
Ibrahim, Mullah Mohammadzai, and former adviser to Mullah Mohammad Omar, Gul
Agha Ishakzai, reportedly met with Hamza Usama Muhammad bin Laden to reassure him
personally that the Islamic Emirate would not break its historical ties with Al-Qaida for
any price.”99 Hamza Bin Laden was the son of Al-Qaida founder Usama Bin Laden
and—at the time of this alleged meeting—was also widely considered to be his father’s
heir-apparent as the leader of Al-Qaida. The UN monitoring team cited evidence
contributed from a United Nations Member State showing “that the regularity of
meetings between Al-Qaida seniors and the Taliban ‘made any notion of a break between

96
   See https://www.bbc.com/news/world-asia-54711452.
97
   See https://digitallibrary.un.org/record/3862716?ln=en.
98
   See https://digitallibrary.un.org/record/3862716?ln=en.
99
   See https://digitallibrary.un.org/record/3862716?ln=en.
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  the two mere fiction.’ The link was described not in simple terms of group-to-group, but
  rather as ‘one of deep personal ties (including through marriage) and long-term sense of
  brotherhood.’”100

IX.      Relationship Between WAMY Canada and WAMY Headquarters in Saudi
         Arabia

  75.     A report from defense expert Marks make a number of incorrect or misleading
  statements about the relationship between WAMY Canada and WAMY headquarters in
  Saudi Arabia, generally characterizing WAMY’s office in Canada as operating on its
  own and making key decisions absent the direction or consistent guidance of WAMY
  leaders in the Kingdom (or elsewhere), and thus excusing WAMY’s organizational
  culpability in any illicit or untoward activity at the branch office.

  76.     I have been provided with documents by Plaintiffs’ attorneys pertaining to an
  audit of WAMY Canada’s office by the Canadian Revenue Agency (CRA). Based upon
  documentation provided by WAMY itself, the CRA concluded that WAMY’s
  headquarters in Saudi Arabia “maintains substantial control” over WAMY Canada’s
  finances and “uses this control to carry out its objectives in Canada.”101 According to the
  CRA, “examples of this control” include that “WAMY (Saudi Arabia) provides
  substantially all of WAMY’s operations funds,” WAMY Canada representatives “advised
  the CRA during the audit that WAMY (Saudi Arabia) exercised a significant amount of
  control over their expenses,” and that WAMY’s Canada office “provides annual reports
  to WAMY (Saudi Arabia) regarding the organizations that it funds and the amounts it
  disburses to these organizations.”102

  77.    According to the former website of WAMY Canada, during the late 1990s, the
  branch office organized at least three years of Umra trips for Canadian Muslims to the
  Kingdom of Saudi Arabia in direct cooperation with officials at WAMY’s headquarters
  in Saudi Arabia.103 On the Canadian side, the trips were specifically coordinated by local
  WAMY representative Mohamad Khatib and beneficiaries were ultimately hosted by
  WAMY’s main office for two weeks in Saudi Arabia.104 The former website of WAMY
  Canada took pains to emphasize that it is part of an “international Islamic organization”
  whose “headquarters is in Riyadh, Saudi Arabia…. The Canadian office is supervised by
  the USA office in Washington D.C.”105 The website also offered phone numbers and




  100
      See https://digitallibrary.un.org/record/3862716?ln=en.
  101
      FED-PEC 218170-218203. Page 6/22.
  102
      FED-PEC 218170-218203. Pages 5/22-7/22.
  103
      See http://web.archive.org/web/19991110025809/http://www.interlog.com:80/~wamy/wamy_
  activities.html.
  104
      See http://web.archive.org/web/19991003195727/http://www.interlog.com:80/~wamy/umra_
  announcement_1999.html.
  105
      See https://web.archive.org/web/19991002045941/http://www.interlog.com:80/~wamy/.
                                             -29-
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 contact information for other WAMY regional branches in at least 7 other countries,
 including Pakistan, Malaysia, and France.106

 78.    During this time period, Khatib communicated directly with, and “regularly
 submitted reports to,” WAMY Secretary General Manel al-Johani and other senior
 WAMY officials concerning WAMY Canada’s annual budget and the office’s “activities
 and achievements in Canada,” including the “development of the Canadian website of the
 Assembly,” “distribution of Assembly publications in Canada,” “representing the
 Assembly in Canada,” and “follow-up the requests for information from Canada by the
 Assembly offices in the Kingdom.107

 79.     At the request of senior WAMY officials in Saudi Arabia, Khatib also provided
 Headquarters with detailed information about WAMY Canada bank accounts108 and, in
 turn, received checks and wire transfers for hundreds of thousands of dollars from both
 WAMY Headquarters in Saudi Arabia, as well as WAMY’s North America base of
 operations in Washington D.C. for the office’s budget and expenses, including projects
 approved by WAMY Headquarters.109

 80.     When Khatib left his role at WAMY Canada in May 2001, WAMY headquarters
 did not remotely disavow or sanction him—but rather sent him a letter expressing “our
 gratitude and appreciation for the good efforts and fruitful generosity you provided
 during your management of the World Assembly Muslim Youth Office in Canada and
 your appreciated and valued role in the official registration of the Assembly with the
 Canadian authorities,” and asked Khatib to stay in contact with the new office director
 “for the support of the Assembly programs in the area.” “I ask the Almighty God to
 reward you for the valued and appreciated efforts you provided and still providing, may
 they all be in the balance of your good deeds.”110 In fact, Khatib remained a member of
 WAMY Canada’s Board of Directors through at least the end of 2003.111

X.      Presence of Al-Qaida Personnel in Bosnia-Herzegovina and the Caucasus in
        the Mid-1990s

 80.    Reports from defense experts Brown and Sageman make a number of incorrect or
 misleading statements about the presence of Al-Qaida personnel in Bosnia-Herzegovina
 and the Caucasus during conflicts that took place there in the mid-1990s. As I have
 already covered this subject in my first report, I will take this opportunity only two add
 two additional points.


 106
     See http://web.archive.org/web/19990827181621/http://www.interlog.com/%7Ewamy/
 Important%20Telephone/Important%20Telephone.html.
 107
     WAMYSA 4400-4401, 4455-4456, 4579-4580.
 108
     WAMYSA 4442-4443, 4480.
 109
     WAMYSA 1748, 1946, 1948-1954, 1957-1958, 4407, FED-PEC 217320-217332, FED-PEC
 217346-217358, FED-PEC 217359-217370.
 110
     WAMYSA 4517.
 111
     WAMYSA 1873-1878.
                                            -30-
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81.     The 9/11 Commission Final Report repeatedly makes references to the fact that
“Bin Ladin maintained connections in the Bosnian conflict.” According to the report:
“In 1992, KSM spent time fighting alongside the mujahideen in Bosnia and supporting
that effort with financial donations.” KSM has acknowledged to American interrogators
that he visited Bosnia at least one other time between 1993 and 1996.112 The 9/11
Commission Report notes: “KSM’s presence in Bosnia coincided with a police station
bombing in Zagreb where the timing device of the bomb (a modified Casio watch)
resembled those manufactured by KSM and Yousef in the Philippines for the Manila air
operation.”113 Likewise, future 9/11 hackers Nawaf al-Hazmi and Khalid al-Mihdar “had
traveled together to fight in Bosnia in a group that journeyed to the Balkans in 1995.”114
When al-Hazmi was stranded in San Diego amidst receiving flight training for the 9/11
plot, he allegedly “borrowed his housemate’s computer for Internet access, following
news coverage of fighting in Chechnya and Bosnia.”115

82.     Shortly after the 9/11 attacks, reporters from the Wall Street Journal were able to
recover files from an alleged Al-Qaida computer in the Afghan capital Kabul unraveling
how Al-Qaida’s deputy commander Dr. Ayman al-Zawahiri had set out on an ill-fated
1996 trip to Chechnya in Russia’s South Caucasus region, where he believed
“conditions… were excellent” for the Egyptian Islamic Jihad (EIJ) and its Al-Qaida allies
to establish a new base of operations.116 Al-Zawahiri was accompanied by two senior EIJ
operatives: the first—Ahmed Salama Mabruk (a.k.a. Abu Faraj al-Masri)—was killed by
a U.S. airstrike in Syria in 2016 for serving in a senior role in Al-Qaida,117 and the
second—Mahmud Hisham al-Hennawi (a.k.a. Abu Sahl)— was “martyred” in clashes
with the Russian military in Chechya in 2005.118

83.      However, suspicious Russian authorities in neighboring Dagestan arrested and
detained al-Zawahiri and his companions, holding them for months without knowing
their true identities and eventually releasing them. According to the Wall Street Journal:
“The Russian investigators and a lawyer who defended the trio were puzzled by a
groundswell of support for them from local Islamic organizations. These included groups
that had embraced the fundamentalist form of Islam known as Wahhabism and received
funding from Saudi Arabia.”119 Upon his release, al-Zawahiri reportedly “spent 10 days
meeting secretly with Islamists in Dagestan. ‘We delivered our product to them,’ he


112
    The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 488.
113
    The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 489.
114
    The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 156.
115
    The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 222.
116
    See https://cryptome.org/zawahri-wsj.htm.
117
    See https://apnews.com/article/9674f84ffc2d4dc68bb071895b47dbd5.
118
    See https://web.archive.org/web/20090210150010/http://www.globalterroralert.com/pdf/0505/
chechnya0505.pdf.
119
    See https://cryptome.org/zawahri-wsj.htm.
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wrote in his report, using a frequent code word for recipes for explosives.”120 The facts
of al-Zawahiri’s trip to Chechnya have since been confirmed by multiple sources,
including former EIJ officials. The London-based Al-Maqrizi Center (run by Hani al-
Sebai) has commented: “It was a miracle that the arrest of these three leaders was
not broadcast to any of the world intelligence agencies. It was even kept a secret
from the Shura Council of the Jihad Movement for 6 months.”121

84.     Likewise, although he was not yet a formal Al-Qaida member, in 1997, 9/11
mastermind KSM “tried to join the mujahid leader Ibn al Khattab in Chechnya. Unable
to travel through Azerbaijan, KSM returned to Karachi and then to Afghanistan to renew
contacts with Bin Ladin and his colleagues.”122 The four “Western-educated men”
recruited by Al-Qaida for the 9/11 operation “had come to Afghanistan aspiring to wage
jihad in Chechnya…. In 1999, Atta, Binalshibh, Shehhi, and Jarrah decided to fight in
Chechnya against the Russians.”123 However, “it was difficult to get to Chechnya at that
time because many travelers were being detained in Georgia,” so a “significant al Qaeda
operative” recommended instead for them to go to Afghanistan “where they could train
for jihad before traveling onward to Chechnya.”124 Zacarias Moussaoui, an Al-Qaida
operative involved in a failed airline or hijacking plot in the United States intended to
follow 9/11, had also fought extensively in Chechnya.


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 Evan Francois Kohlmann                                          Date     1




120
    See https://cryptome.org/zawahri-wsj.htm.
121
    See https://web.archive.org/web/20090210150010/http://www.globalterroralert.com/pdf/0505/
chechnya0505.pdf.
122
    The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 149.
123
    The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 160.
124
    The 9/11 Commission Report. Final Report of the National Commission on Terrorist Attacks
Upon the United States. July 22, 2004. Page 166.
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